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                                                                 LAW DEPARTMENT
                                                                 (302) 576-2175


                                  February 9, 2022

Via Hand Delivery and Electronic Filing
The Honorable Colm F. Connolly
Chief Judge
U.S. District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street, Room 4124
Wilmington, DE 19801-3555

Re:      Ameera Shaheed & Earl Dickerson v. City of Wilmington, First State
         Towing, LLC and City Towing Services, LLC
         C.A. No.: 21-01333 CFC

Dear Chief Judge Connolly:

         I write to seek guidance from the Court regarding the upcoming telephonic

Rule 16 Scheduling Conference set for Thursday, February 17, 2022. In light of

Defendant City of Wilmington’s pending Motion to Dismiss the Complaint, the City

requested that discovery be stayed pending this Court’s ruling on the motion;

however, counsel for Plaintiffs Ameera Shaheed and Earl Dickerson opposed the

request, and, despite the parties’ efforts to reach a compromise, they were unable to

do so.




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        The City is prepared to file a Motion for a Protective Order, consistent with

the Court’s outlined procedures for disputes relating to discovery matters and

protective orders. However, all the parties, including Defendants First State Towing,

LLC and City Towing Services, LLC, have agreed to a scheduling order if the Court

denies the City’s Motion for a Protective Order.

        The City seeks the Court’s guidance on the upcoming February 17th

scheduling conference. Specifically, whether the Court would prefer the City to

present its Motion for a Protective Order at the February 17th telephonic hearing or,

consistent with the Court’s procedures for protective orders, the Court would rather

hold an in-person conference on the motion. If the latter, the City respectfully

requests the Court’s Case Manager provide possible dates for the Court to hear the

City’s motion.     Plaintiffs’ counsel are, of course, available for a telephonic

conference on February 17th , but not for an in-person one.




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        The City is available at Your Honor’s convenience.



                                       Respectfully submitted,

                                       /s/Rosamaria Tassone-DiNardo
                                       Rosamaria Tassone-DiNardo (#3546)
                                       Deputy City Solicitor
                                       Laura Najemy (#6189)
                                       Senior Assistant City Solicitor

Cc:     John W. Shaw, Esquire
        Robert E. Johnson, Esquire
        William Aronin, Esquire
        Joseph Benson, Esquire
        Andrew G. Ahern III, Esquire
        David J. Ferry, Jr., Esquire
        Rick S. Miller, Esquire
        James Gaspero, Esquire




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